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 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )              NO. CR 03-267-GEB
                                         )
12                     Plaintiff,        )              ORDER
                                         )              TO CONTINUE STATUS CONFERENCE
13         v.                            )
                                         )
14   AROUTIOUN SARGSIAN,                 )
                                         )
15                     Defendant.        )
     ___________________________________ )
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17          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the status
18   conference in the above-captioned case be continued to May 20, 2005 at 9:00 a.m. IT IS FURTHER
19   ORDERED THAT the time form the date of this Order to May 20, 2005 be excluded pursuant to 18
20   U.S.C. §§ 3161(h)(8)(B)(iv) (reasonable time to prepare) and Local Rule T4.
21   Dated: April 25, 2005
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                                                /s/ Garland E. Burrell, Jr.
23                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
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